            Case 2:19-cv-00239-GMS Document 49-1 Filed 10/21/20 Page 1 of 1



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7                        IN THE UNITED STATES DISTRICT COURT

8                                  DISTRICT OF ARIZONA
9
     Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
10
                  Plaintiff,
11
                                                     ORDER GRANTING EXTENSION
12   vs.
                                                     FOR DISCLOSURE OF
13                                                   DEFENDANTS’ DAMAGES EXPERT
     Jeffrey Bardwell and Fanny F. Bardwell,
                                                     REBUTTAL OPINION
14
     husband and wife,

15                Defendants.

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           Upon review of the Defendants’ Unopposed Motion to Continue the disclosure of
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     Defendants’ damages expert’s rebuttal opinion and for good cause shown,
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19         IT IS HEREBY ORDERED granting Defendants’ Motion to Continue the date

20   set forth in the Scheduling Order (Doc. 46) for disclosure of Defendants’ damages
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     expert’s rebuttal opinion. The rebuttal opinion shall be disclosed on or before Tuesday,
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23
     October 27, 2020.

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